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Case 2:01-Cr-20174-BBD Document 68 Filed 07/25/05 Page 1 of 3 Page|D 90

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U.S.A. vs. Vensgn Smith Docket No. 2:01€1_!_;0174-01

Petition on Probation and Supervised Release

COMES NOW Mamie wm PROBA'I'ION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Venson Smith who was placed on supervision by the Honorable
Bernice B. Donald sitting in the court at Memphis, Tennessee, on theM day of __Q____ctober, 2_002, who fixed the
period of supervision at two 121 y§a;s* , and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

* Mr. Smith’s Supervised Release began on June 25, 2004.

RESPECTFULLY PRESENTING PE'I`I'I`ION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(Hshmmmhm;ifl¢ngihywsceons¢pmshmmmh)

On June 30,2005, Mr. Smith tested positive for marijuana Mr. Srnith admitted he used marijuana and he has signed
the attached Waiver of Hearing form agreeing to the modification of Supervised Release.

PRAYING THAT THE COURT WILL ORDER that Mr. Smith’s conditions of Supervised Release be amended
to include drug testing and treatment as deemed necessaly/directed by the U. S. Prohation Office.

ORDER OF COURT Respecti`ully,

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20 § and ordered Marnie Klyman (/ 1
U.S. Probation Of’ficer

  
  

Plaee: Memphis, ”[N

 

Date’ Julv 22 2005

Unite States Distri Judge . . f
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Um'ted States District Court
wESTEB,N District T§NNESSEE

Waiver of Hearing to Modify Conditions
of Probationl$upervised Release or Extend Tenn of Supervision

| have been advised and understand that l am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions of Probation and SupeNised Release or
my period of supervision being extended By "assistance of counse|," l understand that l have the right to
be represented at the hearing by counsel of my own choosing if l am able to retain counse|. l also
understand that l have the right tc request the court to appoint counsel to represent me at such a hearing
at no cost to myself if l am not able to retain counsel of my own choosing

l hereby voluntarily waive my statutory right to a hearing and to assistance of counse|. l also agree to
the following modification of my Conditions of Probation and Supervised Reiease or to the proposed
extension of my term of supervision:

You shall participate in a program which may include inpatient therapy for treatment of
druglalcoho| dependency, including druglalcohol testing to determine if you have reverted to the use of
drugs/alcoho|. ¥ou shall also abstain from the use of drugslalcohol during and after the course of
treatment You shall participate in mentat health treatment as deemed appropriate

 

Wltness:M,__qW-\ Signed: \/~Q/MA/w~ ,Q~@{//~
MARN|E KLYMAN Venson Smith
U. S. Probation Ofl‘icer ProbationerfSupervised Releasee

749@§

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:0]-CR-20174 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

